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UNITED STATES DISTRICT COURT
for the
’ District of Minnesota

'
United States of America, |
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v.

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Case No. 0864 0:15-00075M-001 AO

!

Alagie Barrow
Defendant

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‘ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:!
(1) The defendant must not violate any federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is
authorized by 42 U.S.C. § 14135a.'

(3) The defendant must advise the court or the pretrial services office or
supervising officer in writing before making any change of residence or
telephone number.

(4) The defendant must appear in court as required and, if convicted, must
surrender as directed to serve a sentence that the Court may impose.
The defendant must appear at
on

If blank, defendant will be notified of next appearance.

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(5) The defendant must sign an appearance bond, if ordered. |

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‘The Director of the FBI is required by Jaw to promptly exppinge from the index described in 42 USC Section
14132(a), the analysis of the DNA sample collected from this Defendant upon receipt by the Attorney General of a
certified copy of a final court order establishing: 1) that no indictment was returned, or 2) that the charges giving rise
to this Order Setting Conditions of Release were dismissed, or 3) that Defendant was acquitted of the charges giving
rise to this Order setting Conditions of Release. In the event any of the foregoing occur, Defendant or his or her
Attorney should submit a proposed Order to the Court specifying which of the foregoing events occurred, and
sufficient information regarding his or her identity and the charges giving rise to this Order Setting Conditions of
Release to enable the FBI to match the Order to the DNA sample to be expunged. To accomplish the expungement,
once the Order is entered, the Defendant or his or her Attorney must send a certified copy of the Order to:

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Federal Bureau of Investigation
Laboratory Division

TPS A RAAT Ed i
2501 Investigation Parkway . SCANNED
Quantico, VA 22135
Attn: Federal Convicted Offender Program Manager . FEB 04 2015

More information is available at: www.fbi.gov/about-us/lab/biometric-analysis/codis/codis_expungemerts, pISTRICT COURT ST. PAUL

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ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked
below:

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oO (6) The defendant is placed in the custody of: |
Person or organization
Address (Only if above is an organization)
City and State
Tel No. (if organization)

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Who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s
appearance at all court proceedings, and (c) notify the court immediately if the defendant violates
a condition of release or is no longer in the custodian’s custody.
Signed:
Custodian or Proxy Date

(7) The defendant must:

(a) submit to supervision by and report for supervision to the Probation and Pretrial
Services Office, telephone number 651-848-1243 (USPO Perez)
no later than immediately upon release from confinement

(b) continue or actively seek epee ywithgut c come uter access #

uprec#

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(] (c)_ continue or start an education program.

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(d) surrender any passport to Probation and Pretrial Services as directed.
!
(e) not obtain a passport or other international travel document.
|
(f) abide by the following restrictions on personal association; residence, or travel:
Travel is restricted to Minnesota unless preapproved by the TLS Prohation

Officer. : .

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(g) avoid all contact, directly or indirectly, with any person who is or may be a
victim or witness in the investigation or prosecution, including:
. Any person involved in the alleged offense.

Cl (hb) © s get medical or psychiatric treatment:

 @)_ returnto custody each _. at o’clock after being released
at o’clock for employment, schooling, or the following
purpose(s):

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ADDITIONAL CONDITIONS OF RELEASE

maintain residence at a halfway house or community corrections center, as the
pretrial services office or supervising officer considers necessary.

not possess a firearm, destructive device, or other weapon. '

not use alcohol & at all (1 excessively.

not use or unlawfully possess a narcotic drug or other controlled substances
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

submit to testing for a prohibited substance if required by the pretrial services
office or supervising officer. Testing may be used with random frequency and
may include urine testing, the wearing of a sweat patch, a remote alcohol testing
system, and/or any form of prohibited substance screening or testing. The
defendant must not obstruct, attempt to obstruct, or tamper with the efficiency
and accuracy of prohibited substance screening or testing. |

participate in a program of inpatient or outpatient substance abuse therapy and
counseling if directed by the pretrial services office or supervising officer.

ma When released tothe Communityp P* : ywill apply with CRS

participate in one of the following location restriction programs and comply
with its requirements as directed.
[11 G) Curfew. You are restricted to your residence every day -

CO) from to or |

C1 as directed by the pretrial services officer, or

A (ii) Home Detention. You are restricted to your residence at all times
except for employment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court
appearances; court-ordered obligations; or other activities approved
in advance by the pretrial services office or supervising officer; or

© (ii) Home Incarceration. You are restricted to 24-hour-a-day lockdown
at your residence except for medical necessities and court
__ appearances or other activities specifically approved by the court.

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ADDITIONAL CONDITIONS OF RELEASE

submit to location monitoring as directed by the pretrial services office or
supervising officer and comply with all of the program requirements and
instructions provided.
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CJ you must pay all or part of the cost of the program based upon your
ability to pay as determined by the pretrial services office or
’ supervising officer.

report as soon as possible, to the pretrial services office or supervising officer
every contact with law enforcement personnel, including arrests, questioning, or
traffic stops.

The defendant shall not possess or use a computer or have.access to any on-line
service without the prior approval of the U.S. Probation and Pretrial Services
Office.

The defendant shall provide the probation officer access to any requested
financial information, including credit reports, credit card bills, bank statements,
and telephone bills.

The defendant is prohibited from engaging in any employment which would
allow him computer/ Internet access during the term of supervision.

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ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance
of a warrant for your atrest, a revocation of your release, an order of detention, a forfeiture of
any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or
both.

While on release, if you commit a federal felony offense the punishment is an additional
prison term of not more than ten years and for a federal misdemeanor offense the punishment is
an additional prison term of not more than one year. This sentence will be consecutive (Z.e., in
addition to) any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250, 000 fine, or both, to:
obstruct a criminal investigation; tamper with a witness, victim, or informant; retaliate or attempt
to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation,
or intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to
surrender to serve a sentence, you may be prosecuted for failing to appear or surrender and
additional punishment may be imposed. If you are convicted of:

(1) An offense punishable by death, life imprisonment, or imprisonment for a term
of fifteen years or more — you will be fined not more than $250,000 or
imprisoned for not more than 10 years, or both;

(2) An offense punishable by imprisonment for a term of five years or more, but
less than fifteen years — you will be fined not more than $250,000 or imprisoned
for not more than five years, or both;

(3) Any other felony — you will be fined not more than $250,000 or imprisoned not

more than two years, or both;

(4) A misdemeanor — you will be fined not more than $100,000 or imprisoned not
more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to
any other sentence you receive. In addition, a failure to appear or surrender may result in the
forfeiture of any bond posted.

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Acknowledgment of the Defendant
I acknowledge that I am the defendant in this case and that ] am aware of the conditions

of release. I promise to obey all conditions of release, to appear as directed, and surrender to
serve any sentence imposed. J am aware of the penalties and sanctions set forth above.

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Defendant's Signature ,

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City and State

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Directions to the United States Marshal

vA The defendant is ORDERED released after processing.

O The United States Marshal is ORDERED to keep the defendant in custody until
notified by the clerk or judge that the defendant has posted bond and/or
complied with all other conditions for release. If still in custody, the defendant
must be produced before the appropriate judge at the time and place specified.

Date?
Judicial Officer’s Signature

U.S. Magistrate Judge Steven E. Rau
Printed Name and Title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICES U.S. ATTORNEY U.S. MARSHAL
